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                                                                                             FILED




                                  United States District Court                            6:04 pm, 10/11/22

                                    For The District of Wyoming                        Margaret Botkins
                            Joel M. Carson, United States 10th Circuit Judge            Clerk of Court



     Johnna Galik, Deputy Clerk                                                    October 11, 2022
     Megan Strawn, Court Reporter                                                      Casper, WY
     Christopher Lauderman and Rachel Willroth, Law Clerk

     Case No. 20-CV-80-JMC; Trial Lawyers College v Gerry Spences Trial Lawyers College at
     Thunderhead Ranch et al

Trial Lawyers College,                               Plaintiff's Attorneys: Christopher Ralston, James
                                                     Gilbert, Lindsay Calhoun, Pat Murphy,
                     Plaintiff,                      Matthew Slaughter
v.
Gerry Spences Trial Lawyers College at               Defendant's Attorneys: Steven Velkei, Jim
Thunderhead Ranch et al,                             Fitzgerald, Beth Kushner, John Joyce, Khail
                                                     Parris;
                    Defendant.


                                      COURTROOM MINUTES
                                          JURY TRIAL

     8:57am       Court called to order.   Introductions of counsel and parties.

     9:01am       Statements to Counsel regarding Status Conference.

     9:02am       Comment by Mr. Velkei regarding Status Conference.

     9:03am       Comments by Mr. Ralston regarding term of confidential settlement agreement;

     9:04am       Court finds that terms of settlement will not be presented to the jury; Written
                  order to follow; Court comments regarding Mr. Rowley. Court will take a long
                  lunch to accommodate parties;

     9:07am       Discussion regarding schedule of trial;

     9:11am       Instructions by Court on how day will proceed.      Plaintiff’s and Spence
                  defendants will have 40 minutes voir dire each and Mr Joyce will have 10
                  minutes;
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                     COURTROOM MINUTE SHEET CONTINUED

9:18am        Court stands in recess

9:38am        Court resumes in presence of the jury; Qualifying Oath issued to jurors; Jury
              Qualified;

9:42am        Petit Jury oath issued; case introduced by the Court; Court Voir Dire;

10:16am       Plaintiff voir dire by Pat Murphy;

10:50am       Court stands in recess;

11:04am       Court called to Order; Spence Defendant’s voir dire by Khail Parris;

11:41am       John Joyce voir dire;

11:51am       Court invites voir dire counsel to hear issues at sidebar;

12:21pm       Court comments regarding jury selection; Jury is in recess until 2:45pm;

12:26pm       Court stands in recess;

12:36pm       Court is back on the record out of the presence of the jury.

12:37pm       Court/Counsel go through Jury Panel to select jurors to be excused for cause;

              Jurors 8, 9 and 14 challenged for cause. Juror 26 excused.

1:15pm        Counsel issues peremptory challenges;

              Jurors 4 and 10 challenged; Counsel signs off on PC sheet;

1:21pm        Court remarks about counterfeit trademark infringement brought up in 10/10/22
              Status Conference.   Court issues a ruling regarding the issue; Defendants’
              Motion to Dismiss Counterfeit Trademark Infringement claim is granted;

1:26pm        Court instructs counsel on openings – counsel is warned about bringing up issues
              that would have effects on prior rulings; Plaintiffs would like to preserve
              objection on the record; Counsel instructed to file a Motion for Reconsideration if
              they believe it needs to be reviewed; Defendant addresses state of mind issue in
              context.

1:32pm        Counsel instructed to keep walkway open for witnesses; Parties are to sit on
              bench by gallery.

1:34pm        Court stands in recess until 2:45pm.
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                     COURTROOM MINUTE SHEET CONTINUED

2:45pm        Court called to order out of presence of the jury. Plaintiff’s counsel has advised
              that they are close to a settlement. Counsel asked for the afternoon to be able to
              work out the details for settlement. Court grants the request and informs counsel
              what the jury admonishment will be and requests for jury;

2:51pm        Jury brought in; Court comments to the jury; seated jurors called to jury box;
              Jurors that were not selected are released from service.

JURY EMPANELED - at          2:59pm                     .

3:00pm        Instructions to the jury by the Court;

3:04pm        Jury released to return at 8:45am;

3:05pm        Court instructed counsel to proceed with settlement;

3:06pm        Court stands in recess subject to call;

4:52pm       Court called to order out of presence of jury; Parties inquired whether Court
             would consider withdrawn the contempt orders for Mr. Parris, Ms Hodjat and Mr
             Joyce; Court agreed that it would entertain withdrawing contempt orders;

4:54pm        Court stands in recess;

5:38pm        Court notified that counsel will continue negotiations and notify Court if
              settlement is reached via email; Court to resume at 10/12/22 at 8:30am.
